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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA                      CLLn"^. 'J d. 1.''.> 1 I Cojr!T
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                                   Alexandria Division


 HALOZYME, INC.,

                       Plaintiff,

        V.                                          Civil Action No. 1:16cvl 580 (CMH/JFA)

 JOSEPH MATAL,

                       Defendant.



                                              ORDER


        This matter is currently before the court on Halozyme's motion to file under seal Exhibit

 F to its reply brief in support of its motion for partial summary judgment. (Docket no. 113). The

 motion to seal was filed on October 5. 2017 along with a notice of filing under seal (Docket no.

 114). A memorandum in support of the motion to seal was also filed with the motion (Docket

 no. 117). Pursuant to Local Civil Rule 5(C), anyone objecting to the filing of the materials

 subject to the motion to seal was required to file a response within seven days of the filing of the

 motion to seal. No response has been filed opposing the motion to seal and the time for doing so

 has expired.

        The motion to seal seeks to file under seal Exhibit F to plaintiffs reply that includes

 several pages from the deposition transcript of Gregory' I, Frost that appears to contain

 confidential and commercially sensitive information (Docket no. 116). Having reviewed the

 exhibit that has been filed under seal and taking into consideration the applicable standards as set

 forth by the Fourth Circuit in Va. Dep'l ofSlate Police v. Washinglon Posi,'i%6Y3d 567 (4th

 Cir. 2004) for filing materials under seal, the court finds that the motion to seal should be

 granted.


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